         Case 1:21-cv-00410-LKG Document 62 Filed 02/03/22 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                               )
 CHAMBERS OF COMMERCE OF THE                   )
 UNITED STATES OF AMERICA, et al.,             )
                                               )
        Plaintiffs,                            )       Civil Action No. 21-cv-00410-LKG
                                               )
 v.                                            )       Dated: February 3, 2022
                                               )
 PETER FRANCHOT,                               )
                                               )
        Defendant.                             )
                                               )

                                              ORDER

       On February 2, 2022, defendant Peter Franchot, Comptroller of the State of Maryland, filed
a motion to postpone the February 17, 2022, hearing on his motion to dismiss the amended
complaint and plaintiffs’ cross-motion for summary judgment, in light of the heavy litigation
schedule of the Office of the Attorney General of Maryland. ECF No. 59. On the same day,
plaintiffs filed a response in opposition to defendant’s motion, ECF No. 60, and defendant filed a
reply in support of his motion, ECF No. 61.

       The Court scheduled the February 17, 2022, hearing on January 4, 2022, at the request of,
and in close consultation with, the parties. See Order, ECF No. 58. Defendant’s request to
postpone the hearing due to the press of other business, while understandable, does not establish
good cause to warrant the postponement of the hearing and delay of this litigation. And so, the
Court DENIES defendant’s motion to postpone.

       IT IS SO ORDERED.



                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   United States District Judge
